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SETTLEMEN 'I` AGREEMENT

 

THlS AGREEMENT is made and entered into as of` this ____ day of Mzirch
2017, by and between Daryl G~ilbert,_ and Adv'¢inced Pluinbing Cfoi.nmercial end
Residential Si:.rvice.s, In.e.~ a .Florida Corporeti on

WHIIBREAS, Da.ryl Clri.lbert was an employee ot` Advaneed P.luinbing Commerciel
and R.esidentiel Serviees` lnc., a Flm‘ida. Cr.).rporatic.m (the "Advanced Plumbi.ng" parties:)
from August. 1015 to M.ay 2016_;

W'l`~ll:`.REAS, n dispute arose between the parties with respect to the amount of
compensation Dary`l Gilbert received during the time he was employed by Advaneed
Plumbing_;

WI[~]II]{`EAS, Dal'yl (.`ri.lbert brought suit against Advenccd P|un\l:)ini__r in that
certain lawsuit in the Midclle Distric.t ol"Florida, styled Case 8:16-cv-27 l3-T-l,7/-\E`P; and

WH`E`REAS, Dary| G.i.lbe.rt and the Advaneed Plurnbing' parties desire to
amicably enter into an Agreemerrt to prevent further litigation from either _party; and

N()W THE.REFORE i.n consideration of mutual agreements herein contained
end the above covenants which are made a. part of the agreement here in,l it is agreed as
:Follows:

1. l.`he PARTIES to this AGREEME`NT hereby are defined as 't`ollows:
:a.. .Deryl Gilbert_. en individual resident ei`Pinellas C_`ounty, Floride:.

b. Advanced P-]'umbing Commereial and `Residentia| Serviees, l,nc._, a.
F]orida Corporation, its Suceessors end assigns.

T.'he foregoing are jointly referred to as "PA.R'I`IES" and each individually as a

"PARTY"; the party named in (e.) above is referred to as the "G`l`LI.iERT .PARTY"; end

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the parties named in (b) above are referred to as the "ADVANCED PLUMBlNG
.PART`Y'."
2. T."`or good and valuable consideration and equivalent val.ue, the receipt and

sufficiency u'I`which is hereby acknowledged the PARTIES agree:

]`. SlI~ITTLEMENT
3. I.n consideration for signing this AG.`REEM.ENT_. end for compliance Witli
the promises made herein, the ADVAN`CED Pl.UMBING PAR`]`Y agrees to pay to the
GILBE`RT l.’ARTY, the Su.m of Si)c Tl‘.io'usand P`ive Hund.red Dolla'rs and 00/10.0
('_$6_,500.00) ns 'l"ollows:
a. 'The i'ull amount is to be paid upon execution of this
AGREEM.EN'F_
b. All payment shall be made by checks payable as t`ollows: (_ l) Daryl
Gilbert in the amount o.l` (`.)NE Tl~lOUS/-\ND l"IVE HUNDRI€D
DOLI..AR.S and 00/ 1005 and (2) Riehard Ccller i.,<:gal., P.A., in the
tunoun.t ol" _FIVE THOUSAND .DOLLARS and OO/ 1005
(_$5_.000.00). Checl<s required hereunder shall be addressed to
Ricl‘iard C‘.eller Leg'¢il, .P.A. and delivered to Attn: Nonh E. Siorch,
Esq., `Ricl.iard Celler Legal, P.A., 7450 Grit`tin Road. Suite 230_.
.l.`)avie, `Florida 33314 end mailed Certi:l'ied Meil_, Retum Reeeipt

Requested.

.... . _.. .... ...,¢.-...»».»-._...... .. ..____.._
---~\-”.-»-"-~---nm»-I -¢-..~,..H..».-~.\-M»,.. »_...¢v~¢\,~.¢w. l..~ -n-w-v-`...-l\# win-ml nn

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ll.

d.

4.

Upon execution ol" this AGREEMEN”I` and in exchange for the
promises therein_. the parties agree to the immediate entry of a
dismissal with prejudice in the Middle District ot` l~`|orid.a action,
Case 8:lG~cv~27l3-T`-17AEP. Thc GILBERT PARTY agrees to
effectuate all documents necessary for this action and agrees that
the ADVANCED `PLUMBING- P.ARTY' will approve the necessary
documents

The Gl.T..BERT PA_RTY shall submit a motion to approve this
AGREE‘IMENT to Whi_ch this AGR.EEMENT shall he attached with
regard to the claims currently pending against ADVANC.`.IZ-Z'[J
Pl`_.l_l`Bl\/I`JNG `P!-\RTY in the lvl'iddie District o'l` Florida (Case No.

s:ts-ev-z'/ts-r-HAEP).

RELEASE

THAT in consideration of thc promises contained within this

AGREEMEN'I, the receipt and sut`.ticiency of which is hereby aclciowlcdged. the

Gll.iSE`RT PARTY_1 including his principals5 agents, representatives predecessorsd

successors, assigns, related entities_. heirs, beneficiaries personal representatives attctt.‘teys1

affiliatesq _princit:»aisT agents_. and any person claiming directly or indirectly by or tlu:ou{.;hher_1

jointly and severally1 volunt:a.ril'y, .lotowingly, and in good 'l?`ait,'h` and with specific and

express intent to do so._ hereby release and forever discharge the ADVANCED

Pl_.Ul\/].'BING

PARTY, including MARGA.RE'|` RUS`H[NG"$ principals, agents_.

representatives prcdeccssors_, successors assigns related entities, lieirs_. benet‘ieiaries_.

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personal representatives, attorneys, a;l'~Hliates, pri\.'lc:in:¢\ls_1 e.gents, and any person claiming
directly or indirectly by or through her, and ADV/~\NCED PIL,UM'BTNG COMMERCIAL
AND RE.SE`[JENTIAL SERVIC,ES, lN`C.‘s managers, members_. managing members,
ot`ticers. directors, employeesr principals, agents, pi~edeoessors, successois, related entities,
etlomeys, affiliates_. affiliated companies, and any person claiming directly or indirectly by
or through A.DVANCED PLUMBING COMMERCIAI,. /-\NT.) RESI§DENTIA'[_.
SERVICES, l`NC. jointly and severally (“ADVANCED PLUMI':`»l.NG RELEASED
PARTIES”), of and from any and all claims, manner of actions, causes of ech`on, suits.
debts, accounts1 _i'ud,gments, tights_. damages, cos£s, attorney"s fees and e.=.)sts, expert witness
fees and costs expenses, compensation warranties, and demands of any kind Wl,iatsoever\
whether arising at law or in equity, save and except fe r:

a. This AGRI:`.T:`IMENT;

'b. Any confidentiality agreements or related Court Orders made
during the LIT[.GATION.

T|:Li_s Ril".l..EASE inoluclesr but is not limited to:

' Any alleged claims regarding hours worked or compensation wages,
bonuses, commissions, mid/or benefits to which the GILB.ERT 'PARTY
may be entitled regarding his work performed at ADV./-\NCED
PLUMB[NG COMl\/.LERCIAL AND RLESIDENTIAL SERVIC`ES, lNC.
through the date the GILBERT PARTY signs this Agreerr.lent;

" .F\ny alleged claims regarding retaliation for reporting any allegations ot`

Wrottgdoing by ADVANC`.`ED P'LUM'BTNG COM]‘»"[ERC|AI. /-\ND

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RESlDENTIA]_, SERVICES_. l`NC., its officers, or employees, including any
allegations of corporate 'Fraud;

An'y alleged violation of ']`he Family and Medical lj.eave Act and any
related claims regarding leave to which GILBERT may have been entitled
under related state or local leave or disability aecom.modation laws;

Any alleged violation of Ti.tle Vll o.'Fthe Civil Rights Act ot`1964;

Any alleged violation ot` 'Elte .Fair Labor Standards Act_;

Any alleged violation ol" Seetions 1981 through 1983 o:t` Title 42 ol` the
United States Code_:

Any alleged violation ol:` The Employee Retirement locome Security Act. oi"
1974 (exeept t`or any vested benefits linder any tax qualified benth plan):
Any alleged violation ot`The lmmig,t‘a.tion Ret`orm and C.`.ontrol Act_:

A.ny alleged violation of The Amerieans with Disahililies .Aet o‘l" '1990;

Any alleged violation of The Agc [Jiscrimination in Employment Act of
1967 (“ADEA”):

Any alleged violation of The Worl<;er Adj ustment and Ret.raining
Notitication Act_:

A_ny alleged violation ot"[`he F air Cred.it Reporting Aet_:

Any alleged violation of Thc Flo.rida Civil Righ.ts Aet, 1.~`1.:1. Sta.t. § 760_01. et
seq.;

Any alleged Violation oi:` l~`lorida Whistie B]ower_. Fla. Htat. § 448.101 et

seq.;

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Any alleged violation ol` jFlor.ida Stattctory l’rovision Regarding
Retaliation/Diserilnina.tion for Filing a 'Worl<ers Conn:'ensation Claiin - Fla.
Stat. §440.205;

/~\ny alleged violation of` Florida Wage Disorimlnation Law, Fla. Stat. §
448.07;

Any alleged violation of Florida Equal .Pay Law, Fla. Sl,at. § 725.07 and Fla.
Sta.t. Ann. § 448.07;

Any alleged violation ot`Flo'rida A.[DS Aet` l-"`la. Sta't. § l 10.1125` § 381 .{lO
and § 760.50_;

Any alleged violation o`l` .Florida Diserimination on the Basia o'l` Siekle Cell
'l".rait Law, llila.. Stat. § 448.075 et seq._:

Any alleged violation ot`_F|orida OSHA, .Fla_ Stat, Ann. § 442.0] 8(2):_

Any alleged violation of Florida Wage Payment Laws, l"la. Stat. §§ 448.01,
448.08_:

Any alleged violation of` Floricl.a`s Dom.eetie Violenee l_,eave l.aw, Fla. Stat.
§ 741.313_:

.Any alleged violation of Floi'ida.'a Preservation and Pi.‘ol'action of the Right
to Keep and Bear Ar_rns in Motor Vehicles Act ofEUOB_, l"la. Stat.. § 790.251,;
/-\ny alleged claims regarding known or unreported workplace injuries or
occupational diaeases_:

An'y other alleged violation of t`ederal_. state or local law_, mle, regulation_, or

ordinauee;

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'= Any other alleged violation of public policy, eontract, lon_. or common la.w;
and

* Any alleged basis for recovering costa 'l`ees. or other expenses including
attorney’s fees incurred in this Arbitration matter or any other niatter.

5. This RELEAS.E is to he interpreted to include the broadest release possible
of any and all claims that exist on hehall` of the GI.[.BERT PARTY which could have been
brought against the ADVANCED PLUMBFNG R'l:i,LEASED P/-\RTIES` whether known or
unknown

6. 'l'he GILBERT PA.RTY agrees to keep contidential the terms of this
RE.[,EASE.

l.l]. ACKNOWLEDGEIV[ENTS AND A.FF'I.RMATIONS

7. GILBERT PARTY hereby acknowledges and affirms the f`oll.owing:

a. GJ.LBERT PARTY has not fi`led, caused to be i'"iled, or presently is
a patty to any claim against ADVANCEI) PLl_l MB]NG PA.R"I`Y_.
except thc lawsuit identified above

b. C_ill_.Blr`.R'.[` PAR"I`Y has reported all hours worked as of the date
GILBERT PARTY signs this Agreement and has been paid and/or
has received all compensation_. wagee. bonuses, commissions,
and/or henelits to which CrlLBl':'.RT PA RTY may be entitledl

o. G'ILB,ERT PARTY has been granted any leave to which GII.BERT
PA.RT'Y was entitled under the Family and Medieal Leave Act or

related state or local leave or disability accommodation laws.

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GILB`ERT F’A.RTY has no known unreported workplace injuries or
occupational diseases

Gl'L.BERT T’ARTY has not divulged any proprietary or
confidential information oi" ADVANC.ED PLUMBING PARTY
and will continue to maintain the confidentiality o'l" such
information consistent with ADVANCED Pl.,UMBlNG l’ARTY"`S
policies and Gll.\.BE.`RT PARTY’S agn‘eemcnt(s) with
A.T.`)VA|NCED PLUMBING' PA.R"I"Y and/or common law.
Gll_.BERT PARTY has not been retaliated against l`or reporting
any allegations of wrongdoiin;»1 by AD`VANC`.ED `PLl_ll\/IBING
Pr-\R'l"Y or its o.'liicers, including any allegations of corporate
fraud

Botb PARTIES ael<nowiedge that this AGREI£MEN’l` does not
limit either §PARTY"’$ right, where applicable to file or participate
in an investigative proceeding of any 'Federal, state or local
governmental agency. To the extent permitted by l.aw. GILBERT
P/-\RTY agrees that if such an administrative claim is made,
GI.L_BERT PARTY shall not he entitled to recover any individual

monetary relief or other individual remedies

IV. C().NFIDENTIALITY AND NON-D[SPARAGE`MENT

8.

Fl'.hc PA.RTIli_".S to this AGREEM'EN'T.` herebyr agree to the following

CON`F`IDEN'T`IALITY /-\ND NON-DTSPARAGEMENT provisions:

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(.l). The PARTIES hereby agree that they will not discuss with any
third party or entity any facts relating to this AG'R.EEMENT. any facts or issues
relating to negotiation or content o;t` this A(;`rREE-IMENT, including the
oons.i.deration_. to any third partics, or discuss with any third party or entity any
fa<:ta. ia.suea, or ideas related to the litigation aside front any item which is a
matter of public record- The PAR.TIES, and their agents and representatives_. will
keep nil such information in strict confidence and such information shall not be
revealed to any third parties without an order of a court of appropriate
jurisdiction after notice and an opportunity to he heard has been given to each
PAR'I`Y, ordering the disclosure of the information or in an action to enforce the
terr.ns of or arising from this AGREEMEN']`. If an attempt is made to compel a
PAR'.|"Y' to reveal any of the foregoing information that PARTY shall vigorously
oppose the attempt to compel disclosure of the information and shall notify the
othen.‘ PARTIES immediately so those PA`R.TIE$ may intervene to protect their
rights. 'l`his provision does not prevent a i’A.RTY from discussing the amount paid
or the nature of the payment with hi a or ita tax and legal advisots.

tf'l). That beginning from the effective date o'.[" this AGREEMENT and
th.ert:ai"ter, each PART`Y to this AGREEMENT including ita represen.tatives_.
agrees not to make any remarks ot statements to any person, entity, governmental
body'_. or regulatory body about any PARTY to this AGREEMEN"[" contained
herein or their respective heirs, cxecutora. administrators. subsidiaries, a'i`fili.ates,

related cntities, successors, assigns_. members. managers, managing members_.

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shareholders_. ofticers_, directors principal, agents and all persons claiming by or
through them, that could reasonably be construed as disparaging and no PARTY
shall engage in any form of conduct which attempts in any way to diminish and/or
disparage the other PARTIES or the entities referred to in the RELEASE
regarding their reputa'tion_. integrity, or business practices as well as the reputation
or integrity of the vessels that were the subject matter of the aforementioned
litigation

(3_). '.[`he I’A_RTIES acknowledge that conticlentiality and non-
di,sparagement are important and material to this AGREE.MENF and the business
of those PART!ES referenced in this AGREEM.`ENT. 'I'he PARTTES
acknowledges that a violation oi" this AG'REEMENT will cause irreparable harm
to those PAR.TIES released under this AGREEMENT. Accordi.ngly. should a
breach occur under this AGREEME`NT the non-breaching party shall be entitled
to injunctive reliet', in addition to any other legal remedies that may bc avai]a.ble_.
includi.ng. but not limited to, compensatory damages in the event of litigation the
prevailing party shall he entitled to reimbursement o.t" attomey.s’ fees and costs
from thel other party.

(4). ADVANCF,.D P.LUMBING PA.RTY will provide a neutral
verification of GILBERT PARTY’s employment with A`DVA.NCED
PLIHVIBI[NG P'ARTY to any prospective employer and such reference will be

limited to only GILBERT PAR'l`Y’s job title and dates ot`emp|oyment.

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V. NONADMISSION OF WRONGDO].NG

9. The PAR.TIES agree that neither this AGR.EEMENT nor the furnishing o.l`

consideration 'l`or this AGREEMENF shall be deemed or construed at any time for

any purpose as an admission by ADVANCED PLUM`-.BING PARTY of
wrongdoing or evidence of any liability or unlawful conduct ot` any kind.
Vl`. A,Dl)iTIONA.L l-"R'OVISIONS

lO. Any dispute arising out of or in connection with this AGRE`EMEN'.[` shall
be referred to the exclusive_iuri.sdiction of the M`iddle Distriet of 'Florida.

ll. \ 'l`his AGREEMENT constitutes the entire agreement between the
P.ARTIES and supersedes all prior agreements and understandings with respect to the
matters contained hcrein.

'12. The PARTI`ES agree that this AGREEMEN'£` shall he binding upon and
shall inure to the PARTI`ES herein and their respective legal re_[:iresentativesg insurers_.
successors, o'lt`icers, shareholders and assigns

13. No PAR'].'Y will be deemed to be the drafter o.l" this AGREEMENT and
the rule of:` law construing ambiguous terms against the drafter will not be employed
against any PA R'I`Y in the interpretation of this AGREEMENT.

14. lhis AGREE`MF.N'I` may be executed in any number ot`¢:ountcrparts, each
of which, when so executed and delivered shall be an origina], but each counterpart shall
together constitute one and the same i.nstru.ment'..

l$. 'l.`he term AGREEl\/I.EN"[` as used herein includes the recitals a|:iove,

including tile S.ETTLEMT:`.NT, RELEASE, A(`_`.KNOWLI"'IDGMENTS AND

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AFFI`R.MATI§ONS. CONI~`IDENTIALITY &. NON-DISPARAGEMEN'I` and

NGNADM[SSION OF WRONGDO]'NG prlc)»\r'isionsl

IN WI'T`NESS W“HEREOF, this Agreement was executed by the undersigned

parties effective as of the date written above.

.DARYI., GI_LBERT ADV ANCED PLU
COMMER<:IAL . . MBING

INC AND RESIDENTIAZ[. SERVICES,

| a Florida Cn ration

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